          Case 3:20-cr-00216-BR       Document 1      Filed 07/13/20      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                  PORTLAND DIVISION


UNITED STATES OF AMERICA                           3:20-cr-00216-BR

               v.                                  INFORMATION
                                                   18 U.S.C. § 111(a)(1)
BENJAMIN BOLEN,
                                                   CLASS A MISDEMEANOR
               Defendant.

                    THE UNITED STATES ATTORNEY CHARGES:

                                          COUNT 1
                                (Assault on a Federal Officer)
                            (18 U.S.C. § 111(a)(1) - Misdemeanor)

       On or about July 13, 2020, in the District of Oregon, defendant BENJAMIN BOLEN

forcibly assaulted Adult Victim 1 (AV-1), a person designated as a federal officer under 18

U.S.C. § 1114, while AV-1 was engaged in and on account of the performance of AV-1’s

official duties;

       In violation of Title 18, United States Code, Section 111(a)(1).

Dated: July 13, 2020.                              Respectfully submitted,

                                                   BILLY J. WILLIAMS
                                                   United States Attorney

                                                   /s/ Gary Y. Sussman
                                                   GARY Y. SUSSMAN, OSB 873568
                                                   Assistant United States Attorney



Information                                                                             Page 1
